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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION



SINGAPOREMATH.COM, INC., an Oregon )
corporation,                       )                              No. 3:11-cv-01522MO
                                   )
                 Plaintiff,        )                          JOINT STATUS REPORT
                                   )
             v.                    )
                                   )
HOUGHTON MIFFLIN HARCOURT          )
PUBLISHING COMPANY                 )
                                   )
                                   )
                                   )
                Defendant.         )




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               Case No. 3:11-cv-01522-MO; KH File - SGA601
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        Pursuant to the Court’s June 8, 2012 Order, the parties submit the following Status

Report. As defendant Houghton Mifflin Harcourt Publishing Company (HMH) noted in its

May 29, 2012 filing, HMH declared a Ch. 11 bankruptcy (“the Bankruptcy”).                    In its

June 27, 2012 filing, HMH’s counsel informed the Court that HMH’s bankruptcy plan was

approved on June 22, 2012 by the U.S. Bankruptcy Court for the Southern District of New York.

        On September 4, 2012, plaintiff Singapore Math, Inc. (fka SingaporeMath.com, Inc.)

filed a new trademark-infringement lawsuit in the U.S District Court for the District of Oregon

against the entity that emerged from the Bankruptcy, and that case is captioned Singapore Math,

Inc. v. Houghton Mifflin Harcourt Publishing Company, Case No. 3:12-cv-01583-BR. The post-

bankruptcy entity has the same name as the entity in the Bankruptcy,

        Plaintiff Singapore Math intends to file a motion to dismiss this matter later this week.

As will be described in its motion to dismiss in favor of the new Oreogn lawsuit, plaintiff

Singapore Math chose to file the new lawsuit because certain provisions of the HMH bankruptcy

plan pertaining to a discharge injunction and third-party releases make the present lawsuit

ineffective for plaintiff Singapore Math to obtain the relief it desires against the post-bankruptcy

HMH entity.

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       The parties are presently discussing plaintiff Singapore Math’s to-be-filed motion to

dismiss, and defendant HMH is considering how it will respond to the motion, and to plaintiff

Singapore Math’s new lawsuit.

                                          Respectfully submitted,

                                          KOLISCH HARTWELL, P.C.

Dated: September 10, 2012                        / s / David P. Cooper
                                          David P. Cooper
                                          of Attorneys for Plaintiff SingaporeMath.com, Inc.

                                          DONOVAN AND YEE LLP

Dated: September 10, 2012                        / s / Nancy J. Mertzel
                                          Nancy J. Mertzel
                                          of Attorneys for Defendant Houghton Mifflin
                                          Harcourt Publishing Company




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of September, 2012, that a true and correct copy of

the foregoing JOINT STATUS REPORT was served by the method indicated below on the

following persons:

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                                                    / s / David P. Cooper
                                            of Attorneys for Plaintiff Singapore Math, Inc.
                                            (fka SingaporeMath.com, Inc.)




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